       Case 3:20-cv-02336-LC-EMT Document 16 Filed 10/02/20 Page 1 of 2



                                                                             Page 1 of 2


                 UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

JOHNATHAN SAMUEL HARRIS,
    Plaintiff,

vs.                                                  Case No.: 3:20cv2336/LAC/EMT

GREGORY WISE,
     Defendant.
_______________________________/

                                       ORDER

      The chief magistrate judge issued a Report and Recommendation on

September 3, 2020 (ECF No. 15). The parties were furnished a copy of the Report

and Recommendation and afforded an opportunity to file objections pursuant to

Title 28, United States Code, Section 636(b)(1). No objections have been filed.

      Having considered the Report and Recommendation, I have determined it

should be adopted.

      Accordingly, it is ORDERED:

      1.     The chief magistrate judge’s Report and Recommendation (ECF No.

15) is adopted and incorporated by reference in this order.

      2.     Plaintiffs’   complaint   (ECF    No.     1)   is   DISMISSED    WITH

PREJUDICE for failure to state a claim upon which relief may be granted.
        Case 3:20-cv-02336-LC-EMT Document 16 Filed 10/02/20 Page 2 of 2



                                                                      Page 2 of 2


       3.     The clerk is directed to close the file.

       DONE AND ORDERED this 2nd day of October, 2020.



                                    s/L.A. Collier
                                   LACEY A. COLLIER
                                   SENIOR UNITED STATES DISTRICT JUDGE




Case No.: 3:20cv2336/LAC/EMT
